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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )
)
V. )
) Case No. 21-mj-000231
RAECHEL GENCO )
)
Defendant. )
i ( sts—s—C‘i*YS@

 

PRO HAC VICE DECLARATION OF
BARBARA W. PALMER

 

I, BARBARA W. PALEMR, make the following declaration in support of the Motion For Pro
fac Vice Admission submitted by Attorney Allen H. Orenberg:
1. My full name is Barbara W. Palmer
Z. My office address is P.O. Box 1386, Princeton, TX 75407, with a telephone number
of 214 734-1861.

3. I have been admitted to the following State & Federal Bars:

e lam amember in good standing of the bar of the highest court of the State of

Texas, where Applicant regularly practices law. Bar license number: 15424395:
Admission date: 05/18/1991, and the following federal courts:

 

 

Court: Admission Date: Active or Inactive:
e U.S. Courts of the
Northern District TX 11/22/1999 Active/In Good Standing
e U.S. Courts ofthe
Western District TX 01/17/1995 Active/In Good Standing
e U.S. Tax Court 07/26/1991 Active/In Good Standing

e U.S. Courts of the
Southern District TX 08/16/1991] Inactive

 

 
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e U.S. Court of Appeals of the
Fifth Circuit 1995 Inactive

e U.S. Courts - Eastern District TX 1995 Inactive

I completed Texas Bar Course No. 174108144 entitled Federal Court Practice on

5/28/2021 for 6.50 Total Hours and 1.50 Hours of Ethics.

4. I have not been disciplined by any Bar.

5, I have not been admitted pro hac vice in this Court within the last two years.

6. I hereby affirm that the foregoing Declaration is true and correct to the best of my
knowledge and belief.

Date: January 6, 2022 Respectfully submitted,

Barbara W. Palmer
Attorney at Law

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Princeton, TX 75407
Phone: (214) 734-1861

Email: bpalmer.txag@gmail.com

 

 

 
